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Attorne S for Plaintiffs
BRAV SPORTS and VARIFLEX, INC.

BRAVO SPORTS, a California
corporation, and VARIFLEX, Inc., a
Delaware corporation,

Plaintiffs, Counterclaim Defendants,
v.

NORTH POLE (US) LLC, a Delaware
corporation, NORTH POLE (CHINA)
LIMITED, a Chinese limited eompany,
NORTH POLE LIMITED, a Hong Kong
limited company and DOES 1 through lO,
inclusive,

Defendants, Counterclaim Plaintiff.

 

 

SECOND AMENDED COMPLAINT 1

 

3 8:05-cV-OO418-DOC-|\/|LG Document 122 Filed 11/26/07 Page 1 of 7 Page |D #:1658

Meshaeh Y. Rhoades Admitted pro hac vice)

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

No. SACV05-418 DOC (RNBX)

[aae-Pes-E-B\] SECoND
AMENDED CoMPLAINT FoR
PATENT INFRINGEMENT
AND DEMAND FoR JURY
TRIAL '

Plaintiffs Bravo Sports, a California corporation, and Variflex,
Inc., a Delaware corporation, state the following amended complaint for
patent infringement by defendants North Pole (US) LLC, a Delaware

corporation, North Pole (China) Limited, a Chinese company, and North

CASE NO. SACV05-4l8 DOC (RNBX)
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Pole, Ltd., a Hong Kong company (collectively “North Pole”).
JURISDICTION AND VENUE

l. The action is for patent infringement under 35 U.S.C. § 27l.
This Court has subject matter jurisdiction under 38 U.S.C. §§ 1331
(federal question) and l338(a) (patent infringement).

2. The Court has personal jurisdiction over North Pole.

3. Venue in this district is proper under 38 U.S.C. §§ l39l(b)
and (c). North Pole has continuous and systematic contacts with this
judicial district and a substantial part of the events giving rise to the
claims asserted in this complaint occurred in this judicial district.

PARTIES

4. Plaintiff Bravo Sports is a corporation incorporated under the
laws of the State of California with its principal place of business at 6600
Katella Avenue, Cypress, CA 90630.

5. Plaintiff Variflex, Inc. is a corporation incorporated under the
laws of the State of Delaware with its principal place of business at 5 l52
North Commerce AVe, Moorpark, CA 93021.

6. Defendant North Pole (US) LLC is a limited liability
corporation incorporated under the laws of the State of Delaware with its
principal place of business at 23 Town & Country Drive, Washington,
MO 63090.

7. Defendant North Pole (China) Limited is a Chinese business
entity with its principal place of business at No. 58-72, Jinjui Road, Jimei
District, Xiamen, Fujian, China.

8. Defendant North Pole, Ltd. is a Hong Kong business entity
with its principal place of business at Unit A905, 9/F Dragon lndustrial
Building, No. 93 King Lam Street, Cheung Sha Wan, Kowloon, Hong
Kong.

SECOND AMENDED COMPLAINT 2 CASE NO. SACV05-418 DOC (RNBX)

 

 

 

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9. North Pole regularly and systematically sells and offers to
sell its products in the Central District of California, including products
that infringe the patent at issue. 7 v v

GENERAL ALLEGATIONS

lO. Prior to August 26, 1987, James P. Lynch conceived and
invented a new and useful portable canopy having an automatic roof.

ll. On October 25, 1988, United States Patent No. 4,779,635
(“the ’635 Patent”) was issued to Lynch by the United States Patent and
Trademark Office for his invention of a portable canopy with an
automatic roof. A copy of the ’635 Patent is attached to this amended
complaint as EXhibit l and is incorporated by reference. The ’635 Patent
is presumed valid under 35 U.S.C. § 282.

12. On April 27, 2000, Variflex purchased the ’635 Patent from
Lynch and K.D. Kanopy. A copy of the assignment of the ’635 Patent
from Lynch to Variflex is attached as EXhibit 2.

l3. On October 26, 2004, Variflex, Inc. became a wholly-owned
subsidiary of Bravo Sports.

14. As the owner of the ’635 Patent, Variflex has the right to
bring an action for infringement of the ’635 Patent.

l5. Since acquiring the ’635 Patent, Variflex and Bravo Sports
have consistently marked their products and packaging with the patent
number.

l6. North Pole has made, used, sold, offered for sale and
imported, within this judicial district a number of portable canopy
structures, including those known as North Pole First-UP. At least, these
portable canopies, and possibly other models as well, are made with an

automatic roof structure that infringes one or more claims of the ’635

Patent- wiedeng

SECOND AMENDED COMPLAINT 3 CASE NO. SACV05-418 DOC (RNBX)

 

 

 

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COUNT I
(PATENT INFRINGEMENT)

l7. The allegations in paragraphs l-l6 are incorporated by
reference.

18. North Pole has infringed the ’635 Patent by making, selling,
offering to sell, importing, and using a portable canopy having an
automatic roof, and will continue to do so unless enjoined by this Court.

l9. North Pole had actual knowledge of the ’635 Patent prior to
its infringing activity. North Pole’s infringement of the ’635 Patent has
been knowing and willful.

20. Plaintiffs have been and will continue to be damaged by the
infringement

21. Plaintiffs have been and will continue to incur irreparable
harm that can only be fully redressed by injunctive relief pursuant to 35
U.S.C. § 283.

22. Plaintiffs are entitled to enhanced damages, attorneys fees,
expert witness fees, and costs pursuant to 35 U.S.C. §§ 284 and 285.

M__'l`_l_l_
(INDUCEMENT AND CONTRIBUTORY INFRINGEMENT)

23. The allegations in paragraphs 1-22 are incorporated by
reference.

24. North Pole has been and, on information and belief, still is
actively inducing and/or contributing to the infringement of the ’635
Patent by others by making a portable canopy containing an automatic
roof and selling it to retailers, who in turn sell and offer to sell the
infringing structure to others in a manner that infringes the ’635 Patent.
North Pole will continue to engage in inducing and/or contributing to the

infringement of the ’635 Patent unless enjoined by this Court. 1 Pariey~B¢¢i._pg.-iao

SECOND AMENDED COMPLAINT 4 CASE NO. SACV05-418 DOC (RNBX)

 

 

 

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25. North Pole had actual knowledge of the ’635 Patent prior to
its infringing activity. North Pole’s inducement to infringe and/or its
contributory infringement of the ’635 Patent has been knowing and
willful.

26. Plaintiffs have been and will continue to be damaged by the
infringement

27. Plaintiffs have been and will continue to incur irreparable
harm that can only be fully redressed by injunctive relief pursuant to 35
U.S.C. §283.

28. Plaintiffs are entitled to enhanced damages, attorneys fees,
expert witness fees, and costs pursuant to 35 U.S.C. §§ 284 and 285.

PRAYER FOR RELIEF

WHEREFORE, Bravo Sports and Variflex, Inc. pray for entry of
judgment as follows:

A. Declaring that North Pole has been and still is infringing the
’635 Patent.

B. Declaring that North Pole’s infringement has been and still is
in willful disregard for plaintiff’s rights.

C. Permanently enjoining and restraining North Pole, its
officers, managers, members, agents, parents, subsidiaries, principals,
successors in interest, and those acting in concert with it from directly or
indirectly infringing, inducing, or contributing to the infringement of the
’635 Patent.

D. Requiring North Pole to account for all gains, profits, and
advantages realized from its infringement and unlawful use of the ’635
Patent.

E. Awarding plaintiffs damages adequate to compensate for the

infringement of North Pole, including their lost profits, but in no event

SECOND AMENDED COMPLAINT 5 CASE NO. SACV05~418 DOC (RNBX)

 

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l less than a reasonable royalty under 35 U.S.C. § 284.
2 F. Awarding to plaintiffs enhanced damages for the willful
3 infringement of the ’635 Patent pursuant to 35 U.S.C. § 284.
4 G. Awarding to plaintiff’ their attorneys fees, costs, expert
5 witness fees, and expenses incurred by plaintiffs in connection with this
6 action pursuant to 35 U.S.C. § 285.
7 H. Awarding to plaintiffs prejudgment and postjudgment
8 interest.
9 I. Awarding such other and further relief as the Court deems
10 equitable and appropriate
1 1
12 DATED: November 1, 2007.
13 HoLLAND & HART LLP
James E. Hartley (pro hac vice)
14 Conor F. Farley (pro hac vice)
15 Meshach Y. Rhoades (pro hac vice)
MCDERMOTT WILL & EMERY
16 Dan'iel R. Foster _
17 Christopher D. Bright
18
19 By: /S/ Daniel R. Foster
ATTORNEYS FOR PLAINTIFFS/
20 COUNTERCLAIM-DEFENDANTS
` BRAVO SPC)RTS AND VARIFLEX,
21 INC.
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SECOND AMENDED COMPLAINT 6 CASE NO. SACV05-418 DOC (RNBX)

 

 

 

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1 JURY DEMAND
2 Bravo hereby demands a jury trial of all issues triable of right by a
3 jury.
4 DATED: November 1, 2007.
5
HOLLAND & HART LLP
6 James E. Hartley (pro hac vice)
Conor F. Farley (pro hac vice)
7 Meshach Y. Rhoades (pro hac vice)
8 MCDERMorr wlLL & EMERY
Daniel R. Foster
9 Christopher D. Bright
10
11 By: /S/ Daniel R. Foster
12 ATTORNEYS FOR PLAINTIFFS/
COUNTERCLAlM-DEFENDANTS
13 BRAVO SPORTS AND VARIFLEX,
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